               Case 3:20-cv-05150-JRC Document 17 Filed 09/21/20 Page 1 of 1




 1

 2

 3

 4

 5

 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 9

10         DIANA HART,
                                                              CASE NO. 3:20-cv-05150-JRC
11                                 Plaintiff,
                                                              ORDER GRANTING EXTENSION
12                 v.                                         TO FILE ADMINISTRATIVE
                                                              RECORD
13         COMMISSIONER OF SOCIAL
           SECURITY,
14
                                   Defendant.
15

16          This matter is before the Court on defendant’s unopposed motion for an extension of time

17   in which to file the Administrative Record (“AR”). See Dkt. 15. Based on defendant’s motion

18   and finding good cause thereof, the Court extends the due date for the AR to October 16, 2020.

19   If the AR becomes available to the Office of General Counsel before October 6, 2020, the AR

20   shall be filed within 10 days of the date that it becomes available.

21          Dated this 21st day of September, 2020.

22

23
                                                           A
                                                           J. Richard Creatura
24                                                         United States Magistrate Judge

     ORDER GRANTING EXTENSION TO FILE
     ADMINISTRATIVE RECORD - 1
